18-10760-jlg       Doc 108       Filed 11/20/18       Entered 11/20/18 11:58:03        Main Document
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                                 Minutes of Proceedings
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------x
Date:             November 15, 2018
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In re:
                                                                          Chapter 11
         Igor Eric Kuvykin,
                                                                          Case No. 18-10760
         Debtor.
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Present:         Hon. James L. Garrity, Jr., United States Bankruptcy Judge


Appearances: Wayne M. Greenwald, Esq. Counsel to the Debtor
             William F. Dahill, Esq. Counsel to iPayment, Inc. (“iPayment”)
             Jil Mazer-Marino, Esq. Counsel to WB Kirby Hill, LLC (“WB Kirby”)
             Serene K. Nakano, Esq. Counsel to the United States Trustee (“UST”)
             Igor Eric Kuvykin, Debtor


Proceedings:              Request for Judgment, Pursuant to Bankruptcy Rule 7056 and Local
                          Bankruptcy Rule 9074-1(D) [ECF No. 84] (the “Request for Judgment”)

                          WB Kirby Hill, LLC’s Application for FRBP 2004 Examination Motion
                          [ECF No. 89] (the “2004 Motion”)

Order:                    The hearings on the Request for Judgment and 2004 Motion are hereby
                          adjourned to November 27, 2018 at 10:00 a.m.

                          WB Kirby’s reply, if any, in support of its 2004 Motion, shall be filed with
                          the Clerk of the Court (with two single-sided copies delivered to
                          Chambers), and served upon all parties in interest, on or before November
                          20, 2018, at 4:00 p.m.

BY THE COURT:

         November 19, 2018
         New York, New York
                                                     /s/ James L. Garrity, Jr.
                                                     Honorable James L. Garrity, Jr.
                                                     United States Bankruptcy Judge
